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                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION                                          ENTERED
                                                                                           09/27/2018
IN RE:                                         §
HOUTEX BUILDERS, LLC, et al                    §      CASE NO: 18-34658
                                               §
415 SHADYWOOD, LLC                             §      CASE NO: 18-34659
                                               §
2203 LOOSCAN LANE, LLC                         §      CASE NO: 18-34660
                                               §      Jointly Administered Order
        Debtor(s)                              §
                                               §      CHAPTER 11

           FINAL ORDER AUTHORIZING DEBTORS TO OBTAIN CREDIT

On September 26, 2018 a final hearing was held on the Debtor’s Motion for Authority to Obtain
Credit (ECF No. 5). The Court having considered the evidence, any responses to the Motion, the
statements of counsel, and the record in this case, accordingly it is ORDERED:

The Debtors are authorized to borrow funds from Charles C. Foster (the “Lender”) pursuant to
the terms of the commitment letter attached to the motion.

The Debtor Houtex Builders, LLC (“Houtex”) is authorized to incur debt in the principal sum not
to exceed $60,000.00 (the actual amount borrowed together with interest, the “Houtex Loan”)
and shall be entitled to use the proceeds to pay all ordinary and necessary expenses in the
ordinary course of its business for the purposes contained in the budget (the “Houtex Budget”)
attached to the motion as Exhibit B.

The Debtor 215 Shadywood, LLC (“Shadywood”) is authorized to incur debt in the principal
sum not to exceed $65,000.00 (the actual amount borrowed together with interest, the
“Shadywood Loan”) and shall be entitled to use the proceeds to pay all ordinary and necessary
expenses in the ordinary course of its business for the purposes contained in the budget (the
“Shadywood Budget”) attached to the motion as Exhibit C.

The Debtor 2203 Looscan, LLC (“Looscan”) is authorized to incur debt in the principal sum not
to exceed $61,000.00 (the actual amount borrowed together with interest, the “Looscan Loan”)
and shall be entitled to use the proceeds to pay all ordinary and necessary expenses in the
ordinary course of its business for the purposes contained in the budget (the “Looscan Budget”
and together with the Houtex Budget and Shadywood Budget, the “Budgets”) attached to the
motion as Exhibit D.

Unused amounts under the Budgets SHALL NOT roll forward and are NOT available to the
Debtors for future periods under the Budgets.



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The Lender is hereby granted administrative expense claims pursuant to § 503(b) and 507(b) of
the Bankruptcy Code against the respective estates.

Any relief not expressly granted by the ORDER is denied.

SO ORDERED.


       SIGNED: 09/27/2018.


                                              ___________________________________
                                              Jeffrey P. Norman
                                              United States Bankruptcy Judge




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